1    Adam B. Nach - 013622
     LANE & NACH, P.C.
2    2001 E. Campbell Ave., Suite 103
     Phoenix, AZ 85016
3    Telephone No.: (602) 258-6000
     Facsimile No.: (602) 258-6003
4    Email: adam.nach@lane-nach.com

5    Attorney for Stanley J. Kartchner, Case Trustee

6                           IN THE UNITED STATES BANKRUPTCY COURT

7                                     FOR THE DISTRICT OF ARIZONA

8    In re:                                                 (Chapter 7 Case)

9    ROY STEWART,                                           No. 4:19-bk-0042-SHG

10                                                          CASE TRUSTEE'S APPLICATION TO
                      Debtor.                               EMPLOY ATTORNEY/ DECLARATION
11                                                          OF ATTORNEY

12
              Stanley J. Kartchner, ("Case Trustee"), for his Application to Employ Attorney, respectfully
13
     alleges as follows:
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15            1.      This case was commenced by voluntary petition filed by the Debtor on January 2, 2019.

16            2.      Case Trustee is the duly qualified and acting trustee in this case.

17            3.      To perform the duties of a Case Trustee, Case Trustee requires the services of an attorney
18
     for the following purpose:
19
                      a.        To advise and consult with Case Trustee concerning questions arising in the
20
     conduct of the administration of the estate and concerning Case Trustee's rights and remedies with regard
21
     to the estate's assets and the claims of secured, preferred and unsecured creditors and other parties in
22

23   interest.

24                    b.        To appear for, prosecute, defend and represent Case Trustee's interest in suits
25   arising in or related to this case.
26
                      c.        To investigate and prosecute preference and other actions arising under the Case
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     Trustee's avoiding powers.
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 1                   d.      To assist in the preparation of such pleadings, motions, notices and orders as are

 2   required for the orderly administration of this estate; and to consult with and advise Case Trustee in
 3   connection with the operation of or the termination of the operation of the business of the Debtor.
 4
             4.      For the foregoing reasons and all other necessary and proper purposes, Case Trustee
 5
     desires to retain generally the law firm of Lane & Nach, P.C. (“Attorney”) as counsel for the trustee.
 6
             5.      Because Attorney practices in bankruptcy corporate reorganization, trustee and
 7

 8   debtor/creditor matters, and because of its experience in those fields, Case Trustee feels that said law firm

 9   is well qualified to render the foregoing services.

10              6.   Based upon the Declaration attached hereto, Case Trustee believes that said law firm and
11
     its members and associates, do not hold or represent any interest adverse to that of your Case Trustee or
12
     the Debtor or the estate and that said law firm is a disinterested entity within the meaning of 11 U.S.C.
13
     §101(14).
14
             7.      Case Trustee is informed that the normal billing rates of said law firm at this time are as
15

16   follows:

17                           Attorneys:              $375 - $225 per hour
18                           Paralegals:             $170 - $ 50 per hour

19           8.      It is contemplated that Attorney will seek compensation based upon normal and usual
20
     hourly billing rates. It is further contemplated that attorneys will seek interim compensation during the
21
     case as permitted by 11 U.S.C. §331.
22
             9.      The Case Trustee brought this case to Attorney on the date indicated below. As a result
23

24   and in order to expeditiously handle the issues, Attorney immediately commenced work on the file.

25   Attorney routinely copies the file and has an application to employ prepared for filing in due course.

26   Therefore, Case Trustee seeks approval from the Court to employ the firm from the date of such initial
27
     consultation.
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                                                     2
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 1          WHEREFORE, Case Trustee prays as follows:

 2                  a.      For authority to employ Attorney, as of the date of this Application as attorneys to
 3   render services in the areas described above with compensation to be paid as an administrative expense in
 4
     such amounts as this Court may hereinafter determine; and,
 5
                    b. For such other and further relief as this Court deems just and proper.
 6

 7   DATED: 2/26/2019.
 8
                                                           /s/ Stanley J. Kartchner, Trustee
 9                                                         Case Trustee
10
     COPY of the foregoing delivered via electronic notification to:
11
     Pamela Faye Trachtman-Allen
12   My AZ Lawyers, PLLC
     1731 W. Baseline Road
13   #101
     Mesa, AZ 85202
14   Email: pamela@myazlawyers.com
     Attorney for Debtor
15
     Office of U.S. Trustee
16   230 North First Avenue
     Phoenix, AZ 85003
17   Email: Renee.S.Shamblin@usdoj.gov
     Email: ustpregion14.px.ecf@usdoj.gov
18
     By /s/ Sheila Rochin
19

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                                      DECLARATION OF ADAM B. NACH
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2            I, Adam B. Nach, declare:
3            A. I am an attorney duly admitted to practice before all courts of the State of Arizona, as well as
4
     this Court and the Court of Appeals for the Ninth Circuit.
5
             B. I am a member of Lane & Nach, P.C., the law firm that the Case Trustee is seeking to employ
6
     generally by the Application to which this Declaration is attached. I am a certified specialist in the
7

8    practice of Bankruptcy Law. All of the members and associates of this law firm are admitted to practice

9    in this state and before this Court.

10           C. The attorneys employed by the law firm of Lane & Nach, P.C. have extensive experience in
11   bankruptcy, insolvency, corporate reorganization and debtor/creditor law. The firm is well qualified to
12
     represent the Case Trustee generally herein, and is willing to accept employment on the basis set forth in
13
     the annexed Application.
14
             D. The law firm of Lane & Nach, P.C. and its associates do not hold any interest or connections
15

16   to this estate, adverse or otherwise, or with the Debtor, creditors, or any other party-in-interest, their

17   respective attorneys and accountants, the Case Trustee, or any person employed in the Office of the

18   United States Trustee; and, said law firm is a disinterested entity as defined in 11 U.S.C. §101(14).
19
             E. Neither the undersigned nor the law firm have shared or agreed to share compensation in this
20
     case with anyone except as professional fees are normally divided among members of Lane & Nach, P.C.
21
             I declare under penalty of perjury that the foregoing is true and correct.
22
             DATED: February 26, 2019.
23

24                                                          /s/ Adam B. Nach
                                                                Adam B. Nach
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